         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                          CIVIL NO. 1:04CV121
                              (1:02CR19-5)


RICHARD H. ROBERTSON, JR.,               )
                                         )
                 Petitioner,             )
                                         )
           VS.                           )      MEMORANDUM
                                         )      AND ORDER
UNITED STATES OF AMERICA,                )
                                         )
                 Respondent.             )
                                         )


     THIS MATTER is before the Court on remand from the United States

Fourth Circuit Court of Appeals. United States v. Robertson, 2007 WL

648127 (4th Cir. 2007).

     On February 5, 2002, Petitioner was charged in a three count bill of

indictment with conspiracy to manufacture and possess with intent to

distribute methamphetamine and the substantive offense of possession of

the precursors to methamphetamine. Bill of Indictment, filed February 5,

2002. In the indictment, the Government alleged that the Petitioner had

previously been convicted of two prior felony drug crimes, thus exposing

him to a mandatory sentence of life imprisonment. Id. On July 1, 2002,


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the Petitioner entered into a plea agreement with the Government pursuant

to which he agreed to plead guilty to the conspiracy charge alleged in

Count Two of the indictment in exchange for dismissal of the other charge.

Plea Agreement, filed July 1, 2002. Because the Petitioner contested the

amount of drugs involved in the conspiracy, his attorney negotiated a

provision in the agreement pursuant to which the amount of drugs would

be determined at sentencing. Id. at 2. In addition, his attorney was able to

persuade the prosecution not to pursue a sentence of life imprisonment

due to the prior felony convictions. Petitioner waived the right to contest

his conviction or sentence on direct appeal or pursuant to 28 U.S.C. §

2255 on any grounds other than ineffective assistance of counsel or

prosecutorial misconduct. Id. at 5.

      On July 3, 2002, Petitioner attended a Rule 11 hearing and was

advised, among other things, of the possible terms of imprisonment and his

waivers. Rule 11 Inquiry and Order of Acceptance of Plea, filed July 3,

2002. As is the custom in this Court, not only did the Petitioner answer

each question during the hearing, but he and his attorney signed the Rule

11 Inquiry which was then filed of record. Id. at 9. In that Inquiry,

Petitioner acknowledged that his written plea agreement, which the Court



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reviewed with him, contained a provision waiving his right to appeal his

conviction or sentence or to contest it in any collateral proceeding,

including a § 2255 petition, on any ground other than ineffective assistance

of counsel or prosecutorial misconduct. Id. at 8. After being advised of

the elements of the offense, the Petitioner also acknowledged that his

guilty plea was knowing and voluntary, he was satisfied with the services of

his attorney, he had discussed with his attorney how the Guidelines applied

to his case, no one had coerced or threatened him to enter the plea, and

he understood and agreed with the terms of his plea agreement. Id. 1-9.

      On March 28, 2003, the undersigned sentenced the Petitioner to

serve 264 months imprisonment, a sentence which was at the bottom of

the Guideline range of sentencing despite the Government’s argument for

enhancements. Judgment in a Criminal Case, filed April 30, 2003. At

sentencing, undersigned once again reviewed the Petitioner’s right to




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appeal.1 The Petitioner did not file an appeal but later filed this action to

vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255.

       On June 25, 2004, the undersigned deemed the Petitioner’s § 2255

motion to have been timely filed and noted that the only ground for relief

was the alleged instruction to trial counsel to file a notice of appeal. Order,

filed June 25, 2004. In fact, the Petitioner alleged under penalty of perjury

that

       [i]mmediately following the sentencing hearing in this case,
       Petitioner instructed his counsel to file a notice of appeal.
       Specifically, Petitioner instructed his counsel to appeal both his
       guilty plea (the knowing and voluntary nature), and his
       sentence (the drug quantity, the drug type determination, the
       guideline enhancements, the improper use of hearsay, and the
       criminal history determination). In response, counsel assured
       Petitioner that he would do so. Upon arriving at FCI Ashland,
       Kentucky, Petitioner attempted to contact counsel on several
       occasions both by phone and by letter in order to determine the


       Assuming arguendo that the Petitioner’s attorney did not consult with
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him concerning his desire to appeal, the Petitioner had just received a
sentence below that contemplated and the undersigned explicitly told him
he had the right to appeal. The Supreme Court has noted that a
sentencing court’s instructions to a defendant about his appeal rights in a
particular case may be so clear and informative as to substitute for
counsel’s duty to consult. Roe v. Flores-Ortega, 528 U.S. 470, 479-80
(2000). “In some cases, counsel might then reasonably decide that he
need not repeat that information. We therefore reject a bright-line rule that
counsel must always consult with the defendant regarding an appeal.” Id.
at 480. The Fourth Circuit has noted this ruling. Frazer v. South
Carolina, 430 F.3d 696, 707 n.9 (4th Cir. 2005).


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      status of his appeal. However, Petitioner was without success
      until February of 2004. At that time counsel informed Petitioner
      that he had not filed a notice of appeal because he “didn’t think
      [the Petitioner] had any issues.”

Petitioner’s Motion, filed June 25, 2004, at 5. As a result, the Court

required the Government to respond to this claim. Order, supra.

      The Government filed an affidavit from the Petitioner’s attorney, Al

Messer, in which Mr. Messer averred that the Petitioner had received a

sentence far less than expected. Facing a sentence of mandatory life

imprisonment, Mr. Messer nonetheless achieved a sentence at the lowest

guideline level.

      To the best of the affiant’s memory, at no time, either before
      the sentencing hearing or after the sentencing hearing did the
      Defendant, either in writing or orally, ask counsel to appeal his
      sentence. The plea agreement was read to the Defendant and
      Defendant was counseled as to his appellate rights being
      limited in the plea agreement. Counsel, after receiving the
      2255 notice, reviewed his file and conferred with his legal
      assistant regarding the Defendant’s case. Based on the review
      of the Defendant’s file [and] conversations with office staff[,] to
      the best of affiant’s knowledge counsel or counsel’s staff did
      not receive any correspondence from the Defendant asking to
      appeal his sentence. The phone bills were reviewed from
      December 2003 up and through March 2004 and no calls were
      received from the Defendant. Further, Defendant’s motion
      stated that he spoke to counsel in February of 2004. Counsel
      has no knowledge of ever speaking to the Defendant after he
      was sentenced. Regarding[ ] February of 2004, counsel
      started a capital murder trial on February 9, 2004 which lasted
      the remainder of the month and counsel was preparing solely


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      for said trial during the first week of February and did not speak
      with the Defendant. Defendant was specifically informed as to
      his right to appeal during his sentencing hearing but, once
      again, to the best of affiant’s knowledge and memory, the
      Defendant did not request counsel to appeal on his behalf.

Affidavit in Response to Ineffective Assistance of Counsel under 28

U.S.C. § 2255, filed July 21, 2004, attached to Respondent’s Answer to

Petitioner’s Motion, filed July 27, 2004, at ¶¶ 20-26 (emphasis added).

      In addition to this affidavit, the Government filed a formal response.

The Assistant United States Attorney who handled the matter before this

Court discerned a more narrow issue than solely whether the Petitioner

had asked his attorney to file an appeal.2 The Government recognized the

holding of the Fourth Circuit in United States v. Peak, 992 F.2d 39, 41 (4th

Cir. 1993), that the failure to file an appeal if requested is a violation of the

defendant’s right to effective assistance of counsel. Nonetheless, the

Government pointed out that the decision in Peak involved a situation in

which the defense attorney was unavailable and could not respond to the

allegation that an appeal had been requested. In addition, there is no

indication in Peak that the defendant had waived his right to appeal. The



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       Indeed, this Court has repeatedly attempted to bring this issue to the
attention of the Fourth Circuit.


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Government also noted that the Fourth Circuit has subsequently upheld

the finality of guilty pleas, citing United States v. White, 366 F.3d 291, 298

(4th Cir. 2004). Answer to Petitioner’s Motion, supra, at 5. In essence,

the Government argued in its response that the Petitioner had filed a valid

waiver of the right to appeal except on the ground of ineffective assistance

of counsel, however, that was not a ground on which the Petitioner averred

that he sought to appeal.

      The Court was persuaded by the Government’s response. In ruling

on the motion, the undersigned determined to set forth its reasoning so

that the Fourth Circuit could review this troublesome issue which is

repeatedly presented by pro se prisoner litigants. The undersigned

concluded:

      This Court is well aware that the failure of an attorney to pursue
      an appeal which has been requested by a criminal defendant
      may constitute ineffective assistance of counsel despite the
      likelihood, or lack thereof, of success on the merits. United
      States v. Peak, 992 F.2d 39, 42 (4th Cir. 1993). And, the
      undersigned is also cognizant that unless it is clear from the
      pleadings, files and records that a prisoner is not entitled to
      relief, an evidentiary hearing is mandatory. Raines v. United
      States, 423 F.2d 526, 529 (4th Cir. 1970). Here, however, the
      Court finds that the issue may be resolved without resorting to
      a credibility determination, a fact which negates the necessity
      of a hearing to determine the credibility of the Petitioner versus
      his attorney. Id.; see e.g., United States v. Heini, 199 F.3d



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     1328 (table), 1999 WL 960773 (4th Cir. 1999); United States v.
     Stuffle, 120 F.3d 263 (table), 1997 WL 447212 (4th Cir. 1997).

     First, in his plea agreement, the Petitioner specifically agreed to
     the following provision:
            The defendant is aware that 18 U.S.C. § 3742 and
            []28 U.S.C. § 2255 afford every defendant certain
            rights to contest a conviction and/or sentence.
            Acknowledging those rights, the defendant, in
            exchange for the concessions made by the United
            States in this plea agreement, waives the right to
            contest either the conviction or the sentence in any
            direct appeal or other post-conviction action,
            including any proceeding under 28 U.S.C. § 2255.
            Furthermore, the defendant expressly and explicitly
            agrees and understands that the United States
            preserves all its rights and duties with respect to
            appeal as set forth in 18 U.S.C. section 3742(b),
            while the defendant waives all rights to appeal or
            collaterally attack the sentence or conviction. This
            waiver does not apply to claims of ineffective
            assistance of counsel or prosecutorial misconduct.

Memorandum and Order, filed October 4, 2004, at 5-6 (quoting Plea

Agreement, supra, at 5) (emphasis added).

     In addition to the plea agreement, which the Petitioner signed,
     he also signed, prior to his Rule 11 hearing, a Rule11 Inquiry
     which was filed with the Plea Agreement. Rule 11 Inquiry,
     attached to Plea Agreement, supra. In that Inquiry, he
     acknowledged that he waived his right to appeal. Id., at 5.
     Finally, when the Petitioner appeared in Court to change his
     not guilty plea to one of guilty, he was once again asked and
     answered the following:

           Have you discussed your right to appeal with
           your attorney, and do you understand the plea


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           agreement in this case provides that you may
           not appeal your conviction or sentence or
           contest the same in a post-conviction
           proceeding unless it is on the grounds of
           prosecutorial misconduct or ineffective
           assistance of counsel?

                 YES:     X                    NO:

           Do you knowingly and willingly accept this
           limitation on your right to appeal and to file
           post-conviction proceedings?

                 YES:     X                    NO:

Id. at 6 (quoting Rule 11 Inquiry and Order of Acceptance, supra, at 8)

(emphasis in original).

     Petitioner now claims he sought to appeal the issue of whether
     his guilty plea was knowing and voluntary, the quantity and type
     of drug involved, the Guideline enhancements, the use of
     hearsay and his criminal history. Based on the Petitioner's plea
     agreement, his signature on the Rule 11 Inquiry, the advice he
     received from the Court at the Rule 11 hearing, and his
     representations in open court during that hearing, the Court
     finds Petitioner made a knowing and voluntary waiver of his
     right to attack his conviction or sentence by a collateral
     proceeding such as a § 2255 motion. See, United States v.
     Killian, 60 Fed. Appx. 441(4th Cir.), cert. denied, 124 S. Ct. 322
     (2003); United States v. General, 278 F.3d 389 (4th Cir.), cert.
     denied, 536 U.S. 950 (2002); United States v. Brown, 232 F.3d
     399 (4th Cir. 2000); United States v. Hoyle, 33 F.3d 415, 418
     (4th Cir. 1994). Thus, the undersigned is entitled to rely on the
     Petitioner’s statements on multiple occasions both in and out of
     court that his plea was knowing and voluntary. See, e.g.,
     United States v. Pollard, 139 F.3d 895 (table), 1998 WL



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      166337 (4th Cir. 1998) (“The district court was entitled to rely
      upon these admissions in imposing sentence.”). Moreover, the
      Petitioner admitted the type of drug involved and specifically
      agreed that the undersigned would make the determination as
      to quantity. Id. As to the Guideline enhancements, the
      undersigned agreed with the Petitioner’s objections to the
      enhancement for an aggravating role and denied same.
      Moreover, the Petitioner specifically waived any right to appeal
      sentencing factors. Id.
                                        ...
      Because [the Petitioner] waived the right to appeal each of the
      grounds which he now claims should have been appealed, the
      undersigned cannot find, assuming arguendo that counsel was
      directed to file an appeal, that Petitioner received ineffective
      assistance of counsel. Pollard, supra, at **2 (citing United
      States v. Wilkes, 20 F.3d 651, 653 (5th Cir. 1994) (“attorney
      cannot be deficient for failing to raise claims when defendant
      knowingly and voluntarily waived all appellate and post-
      conviction relief”)); United States v. Evans, 101 F.3d 695
      (table), 1996 WL 662538 (4th Cir. 1996); Rivera v. United
      States, 131 F.3d 131 (table), 1997 WL 786368, **1 (2d Cir.
      1997) [ ]; Collier v. United States, 9 Fed. Appx. 74, 76 (2d Cir.
      2001) (“Given that [defendant] had made an effective wavier of
      his right to appeal, . . . we think it self-evident that his attorney
      did not act unreasonably in failing to appeal.”); Brooks v. United
      States, 166 Fed.Supp.2d 366 (D. Md. 2001), appeal dismissed,
      25 Fed. Appx. 183 (4th Cir. 2002) (because the defendant
      waived his right to appeal he cannot show his attorney was
      ineffective).

Id. at 5-8 (internal quotation omitted).

      The Fourth Circuit issued a certificate of appealability to the

Petitioner as to the claim that “he received ineffective assistance of

counsel because his attorney failed to appeal his criminal conviction as



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requested[.]” Fourth Circuit Order, filed July 7, 2006. Thus, this issue

was poised for resolution. However, on February 7, 2007, the Fourth

Circuit vacated the Memorandum and Order and remanded the matter for

further proceedings. In doing so, the Circuit noted that

     [i]n its informal brief to this court, the Government concedes
     ‘that the record before the district court raised a genuine issue
     of material fact as to whether trial counsel’s performance was
     per se ineffective under Peak. Accordingly, the district court’s
     summary dismissal of this claim without resolving the dispute
     was in error.’ We agree.

Robertson, supra.

     A review of the Government’s brief, presented to the Circuit by a

different Assistant United States Attorney than the one who presented

argument before this Court, discloses the following concession:

     Although the Government agrees with the district court’s
     analysis that Defendant has waived his right to assert on direct
     appeal the issues he seeks to assert, the Government
     concedes that the record before the district court raised a
     genuine issue of material fact as to whether trial counsel’s
     performance was per se ineffective under Peak. Accordingly,
     the district court’s summary dismissal of this claim without
     resolving the dispute was in error. The Government also notes
     that at the district court level, the Government argued for the
     denial of Defendant’s motion on the strength of a Fifth Circuit
     decision[.] . . . As this case was decided before Peak and
     Peak involved an allegation of ineffective assistance following a
     guilty plea, the Government concedes that, at a minimum, Peak
     requires that the district court resolve the dispute as to whether



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     Mr. Messer was, in fact, requested to file a notice of appeal and
     failed to do so.

Government’s Informal Brief, filed August 29, 2006, at 7-8. In making

this concession, the Government overlooked the facts that Peak does not

appear to have involved a defendant who had waived his appellate rights

and that his attorney could not be located. The Government also

overlooked that this Court was addressing a different issue than whether or

not Mr. Messer had been instructed to file a notice of appeal.

     It is unapparent why the Government would completely reverse

course on appeal and concede error on the basis of Peak, the same case

which it distinguished before the undersigned. Due to the Government’s

concession, the Circuit did not reach the issue but perfunctorily vacated

and remanded.

     Waivers of appeal are valid if entered into knowingly and voluntarily.

United States v. Brown, 232 F.3d 399, 403 (4th Cir. 2000). Whether a

defendant has waived that right is a question of law, a question which the

undersigned resolved in finding that the Petitioner had in fact made a

knowing and voluntary waiver. United States v. Blick, 408 F.3d 162 (4th

Cir. 2005). When a defendant pleads guilty and makes a knowing and

voluntary waiver of his right to direct appeal on any ground other than


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ineffective assistance and when that defendant subsequently alleges that

he instructed his attorney to file a direct appeal on grounds other than

ineffective assistance, the issue is whether an attorney is ineffective for

failing to do that which has been waived and which is proscribed by the

terms of the plea agreement. This is the issue which this Court had framed

for the Fourth Circuit to resolve.

      Th[e] [Fourth Circuit] has said “that a criminal defense
      attorney’s failure to file a notice of appeal when requested by
      his client deprives the defendant of his Sixth Amendment right
      to the assistance of counsel, notwithstanding that the lost
      appeal may not have had a reasonable probability of success.”
      We find Peak dispositive because Pollard did not waive all of
      his appellate rights. Cf. United States v. Wilkes, 20 F.3d 651,
      653 (5th Cir. 1994) (attorney cannot be deficient for failing to
      raise claims when defendant knowingly and voluntarily waived
      all appellate and post-conviction relief).

Pollard, supra, at *2 (quoting Peak, 992 F.2d at 42); accord, United

States v. Alston, 91 F.3d 134 (table), 1996 WL 379695, at *1 (4th Cir.

1996) (“We find Peak dispositive because Alston did not waive all of

his appellate rights.”); Evans, 1996 WL 662538, at *1 (“Evans’ [appeal]

waiver was valid and enforceable. His claim that his attorney was

ineffective for failing to note an appeal is without merit because

Evans expressly waived his right to appeal anything other than an

upward departure and, in this case, there was no upward


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departure.”); Collier, supra (“Given that Collier had made an effective

waiver of his right to appeal, . . . we think it self-evident that his

attorney did not act unreasonably in failing to appeal.”); Brooks,

supra; United States v. Taylor, 414 F.3d 528, 536 (4th Cir. 2005) (“[A]

criminal defendant enjoys the right to effective assistance of counsel

on direct appeal, when such direct appeal is provided as a matter of

right.”); United States v. Shedrick,        F.3d     , 2007 WL 601993, at

*5 (3d Cir. 2007) (“Enforcing a collateral attack waiver where

constitutionally deficient lawyering prevented him from a direct

appeal permitted by the waiver would result in a miscarriage of

justice.”); United States v. Magueflor, 2007 WL 491153 (9th Cir. 2007)

(“Ineffective assistance after he signed the agreement, of course,

cannot invalidate the waiver provision.”); United States v. Davis, 2007

WL 588326, at *2 (10th Cir. 2007) (“In his remaining claim, Mr. Davis

argues that his attorney failed to provide him with effective

assistance of counsel by failing to file a notice of appeal on two

sentencing issues. . . . Mr. Davis fully understood the consequences

of the plea agreement [which contained an appeal waiver] and

entered into it knowingly and voluntarily.”); United States v. Lopez-



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Guzman, 189 F. App’x 732 (10th Cir.), cert. denied, 127 S. Ct. 331 (2006)

(enforcing plea agreement waiver); United States v. Evans, 178 F.

App’x 806, 809-10 (10th Cir. 2006) (“[Petitioner’s] attorney was not

ineffective for failing to raise meritless issues, notwithstanding the

fact that Evans waived his right to file a direct appeal. Before

entering a guilty plea, Evans represented that he had discussed the

charges with his attorney, that he understood his rights, and that he

was satisfied with his attorney’s performance.”); United States v.

Tajeddini, 945 F.2d 458, 466-67 (1st Cir. 1991) (attorney’s failure to

prosecute an appeal without the defendant’s waiver constitutes

ineffective assistance); United States v. Hill, 859 F.2d 151 (table), 1988

WL 97402 (4th Cir. 1988).

     The mandate of the Fourth Circuit requires the undersigned to take

further proceedings. The undersigned will therefore vacate the Petitioner’s

sentence, reimpose the same sentence and file notice of appeal on the

Petitioner’s behalf. United States v. Howze, 178 F. App’x 328 (4th Cir.

2006).

     IT IS, THEREFORE, ORDERED that the Petitioner’s claim of

ineffective assistance of counsel is moot, his conviction is AFFIRMED, his



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sentence is hereby VACATED, but he shall remain in the custody of the

Attorney General of the United States. The Clerk of Court shall prepare an

amended judgment which contains the same terms and provisions as that

of the original judgment.

      IT IS FURTHER ORDERED that, with entry of the Amended

Judgment in a Criminal Case, notice of appeal is deemed to be filed on

behalf of the Petitioner and the appointment of appellate counsel is

respectfully referred to the Fourth Circuit Court of Appeals.

      IT IS FURTHER ORDERED that the Clerk of Court mail a copy of

this Memorandum and Order to the personal attention of Gretchen

Shappert, United States Attorney for the Western District of North Carolina,

and shall transmit this Memorandum and Order electronically to the United

States Attorney’s Office in Asheville, the United States Marshal, the United

States Probation Office, the Warden of the correctional facility where the

Petitioner is currently incarcerated, defense counsel, and a copy shall be

furnished to the Petitioner via United States Mail.




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                                Signed: May 3, 2007




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